Case 9:23-cr-80101-AMC Document 148 Entered on FLSD Docket 09/12/2023 Page 1 of 4




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                         WEST PALM BEACH DIVISION

                         CASE NO.23-80101-CR-CANNON

  UNITED STATES OF AMERICA

  v.

  CARLOS DE OLIVEIRA
                 Defendant.
  ____________________________/

                      SECOND SPEEDY TRIAL REPORT
                   BY DEFENDANT CARLOS DE OLIVEIRA

        Pursuant to Local Rule 88.5 and the Court’s Omnibus Order Setting Trial Date

  and Establishing Pretrial Instructions and Sentencing Procedures (ECF No. 28), both

  of which require the filing of Speedy Trial Reports, Defendant Carlos De Oliveira

  hereby files this Second Speedy Trial Report regarding the status of his case under

  the Speedy Trial Act of 1984, 18 U.S.C. §§ 3161 et seq. (“Speedy Trial Act”).

        Mr. De Oliveira agrees that in its July 21, 2023, Order Granting in Part

  Government’s Motion to Continue Trial and Resetting Deadlines (ECF No. 83), the

  Court excluded all of the time between the date of that Order and the trial date of

  May 20, 2024, pursuant to 18 U.S.C. § 3161(h)(7)(A); and that by Order dated

  August 21, 2023 (ECF No. 128), the Court extended its earlier Order to Defendant

  De Oliveira.
Case 9:23-cr-80101-AMC Document 148 Entered on FLSD Docket 09/12/2023 Page 2 of 4




        However, the Court’s July 21, 2023, Order predated the superseding

  indictment in this case, which the Government filed on July 27, 2023 (ECF No. 85).

  Mr. De Oliveira initially appeared on July 31, 2023 (ECF No. 89), and he was

  arraigned on August 10, 2023 (ECF No. 109).

        Mr. De Oliveira does not dispute that the Speedy Trial Act provides for “a

  reasonable period of delay when the defendant is joined for trial with a codefendant

  as to whom the time for trial has not run and no motion for severance has been

  granted.” 18 U.S.C. § 3161(h)(6). Nor does Mr. De Oliveira dispute that several

  cases brought to counsel’s attention by the Government essentially track that

  language. See United States v. Mejia, 82 F.3d 1032, 1035 (11th Cir. 1996) (abrogated

  on other grounds by Bloate v. United States, 559 U.S. 196 (2010)); United States v.

  Sarro, 742 F.2d 1286, 1299 (11th Cir. 1984). See also United States v. Vasquez, 918

  F.2d 329, 337 (2d Cir. 1990) (The Speedy Trial Act “imposes a unitary time clock

  on all co-defendants joined for trial.”). That said, the Court’s reasoning as to

  codefendants Trump and Nauta rely on paragraph (h)(7), understandably where they

  were made prior to the superseding indictment that included Mr. De Oliveira. As yet,

  however, there has been no finding as to section (h)(6). An “ends of justice” finding

  under section (h)(7)(A) cannot be made retroactively. See Zedner v. United States,
Case 9:23-cr-80101-AMC Document 148 Entered on FLSD Docket 09/12/2023 Page 3 of 4




  547 U.S. 489, 507-08 (2006).1 It follows that such a finding also cannot be

  retroactively applied absent a finding under paragraph (h)(6).

        Mr. De Oliveira’s position, respectfully, is that the Speedy Trial Act has not

  been tolled as to him, and that 70 days of his first appearance on July 31, 2023, would

  run on October 9, 2023. Even if the Court determines that the Act was tolled by its

  August 21, 2023, Order, the 22 days between his July 31, 2023, appearance and the

  August 21, 2023, Order should be subtracted from the Speedy Trial Act clock,

  leaving 48 days.


  Dated: September 12, 2023


                                   Respectfully Submitted

                                      /s Larry Donald Murrell, Jr.          b
                                   LARRY DONALD MURRELL, JR.
                                   FLORIDA BAR NO: 326641
                                   400 Executive Center Drive
                                   Suite 201—Executive Center Plaza
                                   West Palm Beach, FL 33401
                                   Telephone: 561.686.2700
                                   Facsimile: 561.686.4567
                                   Email: ldmpa@bellsouth.net

                                      /s John S. Irving, IV                 g
                                   JOHN S. IRVING, IV
                                   D.C. Bar No 460068 (Admitted Pro Hac Vice)
                                   E&W Law

  1
   Zedner was decided before the provisions of paragraph (h) were reordered in 2008.
  The “ends of justice” provision is now in paragraph (h)(7)(A), not (h)(8).
Case 9:23-cr-80101-AMC Document 148 Entered on FLSD Docket 09/12/2023 Page 4 of 4




                                  1455 Pennsylvania Avenue, N.W.
                                  Suite 400
                                  Washington, D.C. 20004
                                  Telephone: 301-807-5670
                                  Email: john.irving@earthandwatergroup.com

                                  Attorneys for Defendant Carlos De Oliveira

                           CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on September 12, 2023, I electronically filed the

  foregoing document with the Clerk of the Court using CM/ECF, which in turn serves

  counsel of record via transmission of Notices of Electronic Filing.
